    Case 1:22-cv-10855-PGG-OTW             Document 27       Filed 07/28/23     Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANNABELLE SUAREZ,
                           Plaintiff,
                                                       AMENDED ORDER OF
             - against -                                   REFERENCE
                                                     TO A MAGISTRATE JUDGE
THE NEW YORK COUNTY DISTRICT
ATTORNEY’S OFFICE ET AL,                               22 Civ. 10855 (PGG) (OTW)

                           Defendants.

PAUL G. GARDEPHE, U.S.D.J.:
               The above entitled action is referred to the designated Magistrate Judge fo23cvr
the following purpose(s):



X General Pretrial (includes scheduling,              ⁯     Consent under 28 U.S.C. § 636(c)
    discovery, non-dispositive pretrial motions,            for all purposes (including trial)
    and settlement)

⁯ Specific Non-Dispositive Motion/Dispute:            ⁯     Consent under 28 U.S.C. § 636(c)
                                                            for limited purpose (e.g., dispositive
    If referral is for discovery disputes when the
                                                            motion, preliminary injunction)
    District Judge is unavailable, the time period
    of the referral:                                        Purpose: ____________________
    ___________________________
                                                      ⁯     Habeas Corpus

                                                      ⁯     Social Security

⁯ Settlement                                          X     Dispositive Motion (i.e., motion
                                                            requiring a Report and
                                                            Recommendation)
⁯ Inquest After Default/ Damages Hearing                    Motion to Dismiss (Dkt. No. 24)


Dated: New York, New York
       July 28, 2023
